            Case 18-06012                 Doc 2   Filed 04/27/18 Entered 04/27/18 11:41:49                  Desc Main
B 2500A (Form 2500A (12/15)
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                                              United States Bankruptcy Court
                                               Western District of Virginia

        RUDD M HOLT, IV
  In re SHANNON M HOLT                                               ,   )         Case No.    11-61577
                   Debtor                                                )
                                                                         )         Chapter    13
  RUDD M HOLT, IV                                                        )
  SHANNON M HOLT                                                         )
                              Plaintiff                                  )
                              v.                                         )         Adv. Proc. No. 18-06012
                                                                         )
  ONEMAIN FINANCIAL SERVICES, INC
  f/k/a CITIFINANCIAL                                                    )
                     Defendant                                           )


                                          SUMMONS IN AN ADVERSARY PROCEEDING


  YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with the clerk of
  the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its offices and
  agencies shall file a motion or answer to the complaint within 35 days.
                   Address of the Clerk: James W. Reynolds, Clerk of Court
                                         U. S. Bankruptcy Court
                                         210 Church Ave, SW
                                         Roanoke, VA 24011



  At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
                    Name and Address of Plaintiff's Attorney: MICHELLE J DUNN
                                                              STEPHEN E. DUNN, PLLC
                                                              201 ENTERPRISE DR - STE A
                                                              FOREST, VA 24551



  If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012. The motion or answer to the
  complaint shall contain a statement that the defendant does or does not consent to entry of final orders or judgment by
  the bankruptcy court.


  IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT
  TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN
  AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.


                                                        James W. Reynolds (Clerk of the Bankruptcy Court)

           Date: April 27, 2018                         By:   /s/ Julie D Martin
                                                               (Deputy Clerk)
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B 2500A (Form 2500A) (12/15)


                                      CERTIFICATE OF SERVICE

       I, ____________________________(name), certify that service of this summons and a copy of
the complaint was made ________________________(date) by:

       ☐       Mail service: Regular, first class United States mail, postage fully pre-paid, addressed
               to:


       ☐       Personal Service: By leaving the process with the defendant or with an officer or agent
               of defendant at:


       ☐       Residence Service: By leaving the process with the following adult at:



       ☐       Certified Mail Service on an Insured Depository Institution: By sending the process by
               certified mail addressed to the following officer of the defendant at:



       ☐       Publication: The defendant was served as follows: [Describe briefly]



       ☐       State Law: The defendant was served pursuant to the laws of the State of _________, as
               follows: [Describe briefly]



         If service was made by personal service, by residence service, or pursuant to state law, I further
certify that I am, and at all times during the service of process was, not less than 18 years of age and
not a party to the matter concerning which service of process was made.

       Under penalty of perjury, I declare that the foregoing is true and correct.


       Date _____________               Signature ____________________________________


                Print Name:                      __________________________

                Business Address:                 __________________________

                                                  __________________________
